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                   UNITED STATES COURT OF APPEALS                    FILED
                          FOR THE NINTH CIRCUIT                      AUG 21 2024
                                                                  MOLLY C. DWYER, CLERK
                                                                   U.S. COURT OF APPEALS
PAM POE, by and through her parents and      No. 24-142
next friends, Penny and Peter Poe; et al.,
                                             D.C. No.
                                             1:23-cv-00269-BLW
            Plaintiffs - Appellees,          District of Idaho,
                                             Boise
 v.
                                             ORDER
RAUL LABRADOR, in his official capacity
as Attorney General of the State of Idaho,

            Defendant - Appellant,

and

JAN M BENNETTS, in her official capacity
as County Prosecuting Attorney for Ada,
Idaho and INDIVIDUAL MEMBERS OF
THE IDAHO CODE COMMISSION, in
their official capacities,

            Defendants.

Before: HAWKINS, McKEOWN, and DE ALBA, Circuit Judges.


      Plaintiff-Appellees Jane Doe, Joan Doe and John Doe’s motion to withdraw

as Plaintiff-Appellees in this appeal (Dkt. 122) is GRANTED. Pam Poe, Penny Poe

and Peter Poe remain Plaintiff-Appellees.
